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1    Law Office of
     HERNANDEZ | HAMILTON | LAMOUREUX
2    The Johnson House Offices
     455 West Paseo Redondo
3    Tucson, Arizona 85701-8254
     JOSHUA F. HAMILTON (AZ028084)
4    Email: josh@hhlaz.com
     Telephone: (520) 882-8823
5    Fax: (520) 882-8414
     Attorney for Defendant Gutfahr
6
                        IN THE UNITED STATES DISTRICT COURT
7

8                              FOR THE DISTRICT OF ARIZONA
9
     United States of America,                                No. 24-cr-08132-RM-1
10                    Plaintiff,
                                                        DEFENDANT’S OBJECTIONS
11              vs.                                      TO DRAFT PRESENTENCE
12                                                       INVESTIGATION REPORT
     Elizabeth Gutfahr,
13                    Defendant.
14

15          The defendant, through her attorney, hereby objects to the following factual
16
     statements, conclusions, and recommendations contained in the draft presentence
17
     investigation report (hereinafter, the “PSR”) prepared in this case. Fed. R. Crim. P. 32(f).
18

19   The bases for the objections are set forth below in the accompanying memorandum of
20
     points and authorities.
21
                      MEMORANDUM OF POINTS AND AUTHORITIES
22

23   I.     INTRODUCTION
24          This case is ultimately about taxpayer dollars stolen from the public till and the
25
     consequences that result when an elected official siphons off money which would have
26

27   otherwise been legitimately available for use by local government officials. Elizabeth

28   Gutfahr has acknowledged that, while duly elected as the Santa Cruz County Treasurer,



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1    she stole approximately $38.7 million from the County’s savings account at Chase Bank
2
     over the course of about a decade. The loss incurred is undoubtedly significant. As a
3
     result of the theft, the taxpayers lost the benefit of those funds, which has understandably
4

5    led to feelings of extreme anger towards Ms. Gutfahr and other County officials, most
6
     notably, the Santa Cruz County Board of Supervisors, which for unknown reasons, never
7
     noticed any of the thefts occurring over the span of a decade. The Board of Supervisors
8

9    has also endured political backlash and embarrassment.
10
            Ms. Gutfahr’s actions affected others without question. But whether they resulted
11
     in “substantial financial harm” to the Board of Supervisors as contemplated by the
12

13   guidelines is a question left unanswered. For example, the PSR admits that every single

14   County entity “received their allocated allotments during the course of the instant
15
     offense.” (PSR ¶ 60.) Upon information and belief, the funds stolen were not monies
16

17
     allocated for expenditure in the annual budget by County entities but, rather, appear to

18   have been taken from surpluses. While that money was not Ms. Gutfahr’s to take and
19
     could have undoubtedly been better “used for salaries, repairs/improvements, technology,
20
     raises, and necessities,” id., she did not touch the corpus of tax dollars but, rather, only
21

22   the gains earned from investments. It is also unclear whether the Board of Supervisors,
23
     as a government entity, qualifies as a “victim” for restitution purposes and under the
24
     relevant Guidelines provisions for determining whether a financial loss was “substantial.”
25

26          Considering these unanswered questions, the plea agreement specifically leaves to

27   the Court the determination as to whether the offense conduct resulted in “substantial
28
     financial hardship” under USSG §2B1.1(b)(2)(A)(iii). (Doc. 11.) The issue becomes



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1    significant in the sentencing context in this case because Ms. Gutfahr otherwise qualifies
2
     as a Zero-Point Offender. USSG §4C1.1. However, to be eligible for treatment as a
3
     Zero-Point Offender, she cannot “personally [have] cause[d] substantial financial
4

5    hardship” to any victims. USSG §4C1.1(a)(6).
6
     II.     SPECIFIC OBJECTIONS TO THE PSR
7
             The PSR calculates an applicable guidelines range of 151-188 months. This
8

9    reflects a base offense level of 6, plus a 22-level upward adjustment for the loss amount,
10
     a 2-level upward adjustment for substantial financial hardship to the County, and a 2-
11
     level upward adjustment for sophisticated means in the fraud scheme. (PSR ¶ 32.) The
12

13   PSR further assesses an additional 2-levels for abuse of a position of public trust and a 2-

14   level enhancement for failing to report a source of income above $10,000 from criminal
15
     activity. (Id. ¶¶ 76, 80.) Regarding substantial financial hardship, the PSR concludes
16

17
     that “[a] government entity such as Santa Cruz County appears to qualify as a victim for

18   purposes of the enhancement.” (Id., ¶ 71.)
19
             A. Financial Hardship Enhancement (USSG § 2B1.1(b)(2)(A)(iii))
20
             Ms. Gutfahr objects to the PSR’s imposition of a 2-point financial hardship
21

22   enhancement under USSG §2B1.1(b)(2)(A)(iii). (PSR ¶ 71.) Pointing to intangibles like
23
     the potential for “bond interests rates” being higher “due to erosion of trust in the
24
     county’s credit worthiness,” and that “the bulk of the funding was ear-marked for public
25

26   schools and fire districts that already struggle with limited budgets,” the PSR concludes

27   that the County “will face substantial financial hardship as a result of the instant offenses”
28
     under USSG §2B1.1(b)(2)(A)(iii) (emphasis added). (PSR ¶ 72.) These conclusions,



                                                   3
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1    however, are far too speculative and lack sufficient factual and legal support for the
2
     imposition of the guideline enhancement.
3
            Stated differently, the government has failed to establish that the 2-level
4

5    enhancement under USSG §2B1.1(b)(2)(A)(iii) should apply. It only applies when the
6
     government shows by clear and convincing evidence that the defendant’s conduct
7
     “resulted in” the substantial financial hardship of one or more individuals or entities.1
8

9    This begs an important question: Did Ms. Gutfahr’s theft cause substantial financial harm
10
     as defined in the Ninth Circuit? The answer to this question is no.
11
            Courts have interpreted conduct that “resulted in” substantial financial hardship to
12

13   impose a causation requirement that embraces two distinct concepts: (1) but-for

14   causation; and (2) proximate causation. United States v. George, 949 F.3d 1181, 1187
15
     (9th Cir. 2020). But-for causation means that, without the conduct, the harm would not
16

17
     have occurred. Id. Proximate causation, on the other hand, exists when the harm was a

18   foreseeable result of the wrongful act. Id. When considering whether conduct has
19
     “resulted in” a substantial financial hardship, the commentary to the guidelines reflects
20
     the Commission’s analysis of the factors, albeit non-exhaustive, that it considers a
21

22   substantial financial hardship. See U.S.S.G. §2B1.1(b)(2)(A)(iii) cmt. n.4(F).
23
            1
            Because the imposition of the 2-level upward enhancement under
24   §2B1.1(b)(2)(A)(iii) would also preclude a 2-level downward adjustment for Zero-Point
25
     Offenders under §4C1.1(a)(6), it has an “extremely disproportionate impact on the
     sentence.” The government must therefore prove its applicability by clear and convincing
26   evidence rather than a mere preponderance. See United States v. Valle, 940 F.3d 473,
     479 (9th Cir. 2019), quoting United States v. Jordan, 256 F.3d 922, 930 (9th Cir. 2001);
27
     see also United States v. Staten, 466 F.3d 708 (9th Cir. 2006) (applying clear and
28   convincing evidence standard where application produces disproportionate impact on
     sentence compared to offense of conviction).


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1           The Commission has characterized substantial financial hardship as a loss that
2
     significantly impacts the victim’s resources, such as one that causes an individual or
3
     entity to: (i) become insolvent; (ii) file for bankruptcy; (iii) suffer “substantial loss of a
4

5    retirement, education, or other savings or investment funds”; (iv) make “substantial
6
     changes to his or her employment, such as postponing his or her retirement plans”; (v)
7
     make “substantial changes to his or her living arrangements, such as relocating to a less
8

9    expensive home”; or (vi) suffer “substantial harm to his or her ability to obtain credit.”
10
     Id.; see also United States v. Aderinoye, 33 F.4th 751, 757 (5th Cir. 2022) (substantial
11
     financial hardship is “a loss” that “significantly impacts the victim’s resources”); United
12

13   States v. Chukwu, 842 F. App’x 314, 322 (11th Cir. 2021); United States v. Minhas, 850

14   F.3d 873, 879 (7th Cir. 2017) (changes to employment or retirement plans are substantial
15
     hardships because they are significant alterations to one’s life circumstances). When
16

17
     evaluating the government’s evidence of a “substantial financial hardship,” district courts

18   consider whether the individual or entity suffered a loss that was substantial considering
19
     their individual financial circumstances overall. See United States v. Myers, No. 18-cr-39
20
     (CRC), 2022 WL 103177 at *6 n.5 (D.D.C. Jan. 11, 2022), citing George, 949 F.3d at
21

22   1184 (because substantiality is a relative concept, to satisfy section 2B1.1(b)(2),
23
     “financial hardship must be substantial in comparison to something else”—most
24
     naturally, “the financial condition of the victim”).
25

26          In this case, the government has not shown by a preponderance of the evidence or

27   by clear and convincing evidence that Ms. Gutfahr caused substantial financial hardship
28
     to the County. As an initial matter, the government has failed to establish that any of Ms.



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1    Gutfahr’s actions caused the County to endure the types of substantial financial hardship
2
     identified by the Commission in the commentary. The government has not established,
3
     for example, that Ms. Gutfahr’s actions caused the County to become insolvent, to file for
4

5    bankruptcy, to move into smaller offices, to have to lay off employees, etc.
6
            Nor has the government established that Ms. Gutfahr’s actions caused the County
7
     to suffer a substantial loss of retirement, education, or other funds. Although several
8

9    County subdivisions have expressed general concern that they may have future
10
     difficulties in terms of “jeopardizing bond ratings” or “interest rates, making it difficult to
11
     sell bonds,” and that the resulting “culture of finger pointing” may “jeopardize[e] voter
12

13   confidence in approving bonds or budget overrides” or “obtaining grants or community

14   partners,” see PSR ¶¶ 61-64, these concerns are highly speculative and may never occur.
15
     Furthermore, even assuming the County could establish that such difficulties are likely to
16

17
     or will occur in the future, it has failed to establish that such losses would have been

18   foreseeable or proximately caused by Ms. Gutfahr’s actions.2 Nor has the government
19

20          2
             It bears mentioning that there is a lot of distrust among the Santa Cruz County
21   voters towards their local government officials, but that distrust does not start and stop
     with Ms. Gutfahr. Rather, numerous elected county officials have justifiably faced
22   scrutiny for other financial scandals unrelated to Ms. Gutfahr’s crimes. The office of the
23   Santa Cruz County Treasurer has been mired in scandal for many, many years, long
     before Ms. Gutfahr’s crimes were discovered. For example, the prior Santa Cruz County
24   Treasurer, whom Ms. Gutfahr replaced, caused lost “public trust in the Treasurer’s
25
     Office” and was suspended without pay by the Board of Supervisors in June 2012 for
     reportedly “failing to adequately reconcile differences between his books and those of the
26   County Finance Department.” Curt Prendergast, Gutfahr Says She Never Thought She’d
     Win      County      Treasurer’s    Race,      Nogales     Int’l   (Aug.    31,     2012),
27
     https://www.nogalesinternational.com/news/gutfahr-says-she-never-thought-she-d-win-
28   county-treasurer-s-race/article_1bee6048-f385-11e1-a2c3-0019bb2963f4.html.



                                                    6
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1    established that Ms. Gutfahr’s actions caused the County to make substantial changes to
2
     its functioning of day-to-day operations. In fact, the opposite is true. For the past ten or
3
     so years, the County appears to have fully functioned without interruption whatsoever
4

5    despite Ms. Gutfahr’s crimes.       Upon information and belief, not a single budget
6
     appropriation ever went unpaid.
7
            Nor has the government shown that Ms. Gutfahr’s actions harmed the County’s
8

9    ability to obtain credit. There is much speculation about whether bond ratings might be
10
     negatively impacted in the future. But nothing has occurred to date. And those bond
11
     ratings may have been negatively impacted with or without Ms. Gutfahr’s crimes. See
12

13   supra. Considering the armada of litigation between Santa Cruz County, the Arizona

14   Auditor General, the Arizona Attorney General, the various banks, and other parties to
15
     the myriad civil cases stemming from the instant case, it remains unclear if the funds
16

17
     misappropriated by Ms. Gutfahr will be recouped in whole or in part via civil remedies,

18   insurance payouts, etc.3 Because the outcome of the civil litigation remains unknown, the
19
     County has not suffered—and may never suffer—an “actual loss” of any kind. See
20

21
            3
             In November 2024, Santa Cruz County filed a lawsuit against the State of
22   Arizona and the Arizona Auditor General claiming she was grossly negligent in failing to
23   notice Ms. Gutfahr’s actions during mandatory audits. The lawsuit asserts the Auditor
     General’s practices were “substandard” and that Ms. Gutfahr’s “scheme would have been
24   detected many years ago had the Auditor General properly conducted it audits,” claiming
25
     that a simple review of “almost any Savings Account bank statement” would show
     transfers which “would have stood out like a sore thumb.” In April 2025, the Auditor
26   General filed a countersuit against Santa Cruz County, accusing its Board of Supervisors
     of negligence for failing to review reports and properly supervise Ms. Gutfahr in her
27
     capacity as Treasurer, alleging the Board members failed to review mandatory financial
28   reports including cash conciliation reports and ignoring monthly treasurer reports
     altogether.


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1    USSG §2B1.1 cmt. n. 1 (defining victim as any person “who sustained any part of the
2
     actual loss”). For instance, if the County is successful in its lawsuit against the Auditor
3
     General, it could be awarded damages in an amount greater than the actual amount stolen.
4

5    Because the outcome of the civil litigation is uncertain, it is too speculative for the
6
     government to assert that the County has suffered—or will suffer—the types of
7
     speculative damage to bond ratings or voter confidence as referenced in the PSR.
8

9           None of this is to say that the County (or, more importantly, its taxpayers) did not
10
     suffer financial hardship because of the crimes Ms. Gutfahr committed. The issue is that
11
     the government has not met its burden to establish that the offenses of conviction resulted
12

13   in the but-for or proximate cause of a “substantial financial hardship” as contemplated by

14   the guideline. Had Ms. Gutfahr not stolen $38.7 million from the County, that money
15
     could have been spent on any number of legitimate government functions or purposes.
16

17
     But given the annual budget was substantially more than that, and the misappropriation

18   went completely undetected for nearly a decade, and the County budget was paid out in
19
     full each year, the government has thus not shown that Ms. Gutfahr’s scheme caused
20
     substantial financial hardship as contemplated by §2B1.1(b)(2)(A)(iii). Cf. United States
21

22   v. Day, 117 F.4th 622 (5th Cir. 2024) (“[W]hether a loss has resulted in a substantial
23
     hardship . . . in most cases, [is] gauged relative to each victim. The same dollar harm to
24
     one victim may result in a substantial financial hardship, while for another it may be only
25

26   a minor hiccup.”), quoting United States v. Minhas, 850 F.3d 873, 878 (7th Cir. 2017).

27   The County’s annual budget is “typically just over $1 billion” per year. (PSR ¶ 72.)
28
     While the “loss of over $37 million is substantial,” id., that constitutes approximately



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1    0.37% of the County’s total budget year-after-year spread out across nearly a decade and
2
     does constitute “substantial financial harm” to the County within the meaning of the
3
     guideline.
4

5          B. Failure to Report Source of Income Enhancement (USSG §2T1.1(b)(1))
              and Separate Offense Groups (USSG §3D1.2)
6

7          Ms. Gutfahr objects to the PSR’s imposition of a 2-point failure to report source of
8
     income exceeding $10,000 in any year enhancement under USSG §2T1.1(b)(1) and to the
9
     separate grouping of the embezzlement/money laundering offenses and the tax evasion
10

11   offense. (PSR ¶¶ 70, 80.) She pled guilty to embezzling $38.7 million as a public

12   official, which she then laundered by wiring it into a shell company bank account and
13
     failed to report to the IRS and pay taxes on that income as required by law. The PSR
14

15
     groups these offenses separately into two groups. First, it calculates an adjusted offense

16   level for Ms. Gutfahr’s embezzlement and money laundering convictions of 36. (Id. ¶
17
     85.) Second, it assigns an adjusted offense level of 28 for tax evasion. (Id.) The base
18
     offense level for tax evasion (26) is then increased to 28 because the offense involved
19

20   more than $10,000 a year in unreported income from criminal activity, i.e., the
21
     embezzlement and money laundering offenses. See USSG §2T1.1(b)(1).
22
           Next, the PSR calculates Ms. Gutfahr’s combined offense level based upon the
23

24   adjusted offense levels of 36 for embezzlement/money laundering and 28 for tax evasion.

25   Starting with the higher of the two offense levels (36), it applies the USSG §3D1.4(a)-(b)
26
     formula to reflect the additional harm caused by Ms. Gutfahr’s tax crime. (PSR ¶ 85.)
27

28
     Because the offense level for tax evasion (28) was between 5-8 levels less than the




                                                 9
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1    offense level for embezzlement/money laundering (36), the PSR thus increases Ms.
2
     Gutfahr’s offense level from 36 to 37. (Id. ¶¶ 70, 86-87.) This was an error.
3
            Tax evasion should be grouped with embezzlement/money laundering.             The
4

5    guidelines specifically prohibit separate groupings of these offenses.          See USSG
6
     §3D1.2(d) (grouping offenses under sections 2B1.1 (embezzlement), 2S1.1 (money
7
     laundering), and 2T1.1 (tax evasion) together for guideline purposes). Under USSG
8

9    §3D1.2(d), the table lists offenses under sections 2B1.1 (embezzlement), 2S1.1 (money
10
     laundering), and 2T1.1 (tax evasion), as offenses that “shall” be grouped together into a
11
     single group. Ms. Gutfahr’s tax evasion count should therefore be grouped together with
12

13   the other counts and not given a separate grouping and her Total Offense Level should be

14   adjusted downwards accordingly.
15
            Once grouped together, Ms. Gutfahr’s offense level would not be increased from
16

17
     36 to 37 before adjustment for acceptance of responsibility. “Convictions on multiple

18   counts do not result in a sentence enhancement unless they represent additional conduct
19
     that is not otherwise accounted for by the guidelines.” United States v. Haltom, 113 F.3d
20
     43, 45-46 (5th Cir. 1997) (emphasis in original), citing USSG §3D1.2 cmt. The conduct
21

22   for Ms. Gutfahr’s embezzlement/money laundering cannot result in an enhanced offense
23
     level for tax evasion because the counts should not have been separated from one another
24
     in the first place. Id. at 46.
25

26          Ms. Gutfahr’s offense level for tax evasion is also increased by 2 in the PSR

27   because her unreported income was derived from criminal activity, i.e., the
28
     embezzlement and money laundering. (PSR ¶ 80.) It is therefore indisputable that the



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1    embezzlement/money laundering “embodies conduct that is treated as a specific offense
2
     characteristic” of the tax evasion count. Haltom, 113 F.3d at 46-47. (“The conduct
3
     underlying Haltom’s mail fraud conviction was counted twice toward his sentence, once
4

5    as the basis for his mail fraud offense level and again a specific offense characteristic of
6
     the tax evasion counts. This double-counting actually lengthened Haltom’s sentence: the
7
     enhanced tax evasion count was directly responsible for the ultimate 2-level increase in
8

9    his total offense level for mail fraud, from 20 to 22. The purpose of section 3D1.2(c) is
10
     to prevent precisely this sort of “‘double counting’ of offense behavior.”); see also USSG
11
     §3D1.2(c) (“Counts involve substantially the same harm within the meaning of this rule .
12

13   . . [w]hen one of the counts embodies conduct that is treated as a specific offense

14   characteristic in . . . the guideline applicable to another of the counts.”).
15
            C. Information Derived from Arizona Auditor General’s Report
16

17
            The PSR contains several factual assertions which appear to be generated from an

18   August 2024 report prepared by the Arizona Auditor General. The 15-page report was
19
     prepared in anticipation of litigation and was generated for review by the Arizona
20
     Legislature, the Arizona Attorney General, and the Arizona Governor. The report largely
21

22   places the blame upon the Board of Supervisors for a lack of oversight: “The primary
23
     responsibility for the prevention and detection of fraud rests with those charged with
24
     governance of the entity and management.” (Ariz. Auditor Gen. Rpt., 8/26/24, at 12.) It
25

26   proclaims that “no one at the County Treasurer’s Office truthfully reconciled the

27   Treasurer’s Reports to bank statements [and thus] no one discovered that the Treasurer’s
28
     wire transfers were not recorded in the County Treasurer’s accounting system or that



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1    entities actually had less money that what [Ms. Gutfahr] reported,” and accuses the Board
2
     of Supervisors of failing to monitor the monthly cash conciliation reports as required by
3
     statute: “Had anyone from the County reviewed these monthly Cash Reconciliation
4

5    Reports, they may have noticed irregularities and discovered the Treasurer’s actions.”
6
     (Id. at 8-9.) Part of that report—which, for what it is worth, was strongly refuted by the
7
     Board of Supervisors as a thinly-veiled effort to “minimize responsibility” for lack of
8

9    oversight by the Auditor General—was generated by summarizing information provided
10
     by three employees of the Santa Cruz County Treasurer’s Office which, in turn, was the
11
     formed factual basis for several allegations contained in the PSR. (See, e.g., PSR ¶¶ 23-
12

13   32.) That information is not sufficiently reliable to be utilized for sentencing purposes

14   and should be removed from the final PSR.
15
              D. Paragraph 48
16

17
              The PSR contains a paragraph summarizing portions of an April 2024 FBI

18   interview of Ms. Gutfahr, which includes an inaccurate statement regarding a gift made
19
     by Ms. Gutfahr to another individual. That statement, which is unsourced, cannot be
20
     traced to any information contained within the disclosure provided by the government to
21

22   date. As a result, it is not sufficiently reliable to be utilized for sentencing purposes and
23
     should be removed from the final PSR.
24
     III.     CONCLUSION
25

26            Based upon the foregoing, Ms. Gutfahr’s objections to the PSR should be

27   sustained and the guidelines calculations amended to remove the 2-level enhancement
28
     under §2B1.1(b)(2)(A)(iii). Ms. Gutfahr should be regarded as a Zero Point Offender



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1    under §4C1.1(a) and she should be assessed a 2-level reduction as a result.        The
2
     embezzlement/money laundering offenses should be grouped with the tax evasion offense
3
     and therefore should not be subject to a 1-level increase under §3D1.4. With acceptance
4

5    of responsibility, the proper Total Offense Level should be 30, which would establish a
6
     guideline range of 97-121 months.
7
           RESPECTFULLY SUBMITTED this 28th day of May, 2025.
8

9
                               Law Office of
10
                               HERNANDEZ | HAMILTON | LAMOUREUX
11
                               s/Joshua F. Hamilton
12                             JOSHUA F. HAMILTON
13                             Attorney for Defendant Gutfahr

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1                                   CERTIFICATE OF SERVICE
2
     I, Linda Yrrizarry, do hereby certify that on this 28th day of May, 2025, I electronically
3    transmitted the foregoing document to the Clerk’s Office using the CM/ECF System for
4
     filing, and transmittal of a Notice of Electronic Filing was sent to the following
     recipients:
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10
     United States Attorney’s Office
11
     Willow Stokes, Senior Officer
12   United States Probation Department
13
     Joshua F. Hamilton
14   Attorney for Defendant Gutfahr
15
     By s/Linda Yrrizarry
16     LINDA YRRIZARRY
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